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oy Case 4:23-cr-00264-GKF Document 2 Filed in USDC ND/OK on 08/21/23 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMAUS. DISTRIC

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

DANIEL LAWRENCE CHARBA,

Defendant.

THE GRAND JURY CHARGES:

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Case No. 23 CR 26 4, GKF

INDICTMENT

[COUNT ONE: 26 U.S.C.

§§ 5861(f), 5871, and 5822 —
Unlawfully Making a Destructive
Device;

COUNT TWO: 26 U.S.C.

§§ 5861(d) and 5871 — Possession of
an Unregistered Destructive Device;
Forfeiture Allegation: 26 U.S.C.

§ 5872 and 28 U.S.C. § 2461 —
Unlicensed Firearms Forfeiture]

COUNT ONE

[26 U.S.C. §§ 5861(f), 5871, and 5822]

Between on or about April 12, 2022 and April 12, 2023, in the Northern District

of Oklahoma, the defendant, DANIEL LAWRENCE CHARBA, knowingly and

unlawfully made firearms, that is, destructive devices, described as fourteen

improvised explosive devices.

All in violation of Title 26, United States Code, Sections 5861(f), 5871, and 5822.
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COUNT TWO
[26 U.S.C. §§ 5861(d) and 5871]

On or about April 12, 2023, in the Northern District of Oklahoma, the defendant,
DANIEL LAWRENCE CHARBA, possessed firearms which were not registered to
him in the National Firearms Registration and Transfer Record, that is, fourteen

destructive devices.

All in violation of Title 26, United States Code, Sections 5861(d) and 5871.
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FORFEITURE ALLEGATION
[26 U.S.C. § 5872 and 28 U.S.C. § 2461]

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 26,
United States Code, Section 5872 and Title 28, United States Code, Section 246.

Upon conviction of the offenses alleged in this Indictment, as a part of his
sentence, the defendant, DANIEL LAWRENCE CHARBA, shall forfeit to the
United States any firearm and ammunition involved in or used in the knowing
commission of such offenses.

All pursuant to Title 26, United States Code, Section 5872 and Title 28, United
States Code, Section 2461.

CLINTON J. JOHNSON A TRUE BILL
United States Attorney

as eZ /s/ Grand Jury Foreperson

NATHAN E. MICHEL Grand Jury Foreperson
Assistant United States Attorney

